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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-cv-00424-RP
PURYEAR, KATHY KENNEDY,                    §
REBECCA JONES, RICHARD DAY,                §
CYNTHIA WARING, AND DIANE                  §
MOSTER,                                    §
                                           §
   Plaintiffs,                             §
                                           §
           v.                              §
                                           §
LLANO COUNTY, RON CUNNINGHAM, §
in his official capacity as Llano County   §
Judge, JERRY DON MOSS, in his official §
capacity as Llano County Commissioner,     §
PETER JONES, in his official capacity as   §
Llano County Commissioner, MIKE            §
SANDOVAL, in his official capacity as      §
Llano County Commissioner, LINDA           §
RASCHKE, in her official capacity as Llano §
County Commissioner, AMBER MILUM, §
in her official capacity as Llano County   §
Library System Director, BONNIE            §
WALLACE, in her official capacity as       §
Llano County Library Board Member,         §
ROCHELLE WELLS, in her official            §
capacity as Llano County Library Board     §
Member, RHONDA SCHNEIDER, in her           §
official capacity as Llano County Library  §
Board Member, and GAY BASKIN, in her §
official capacity as Llano County Library  §
Board Member,                              §
                                           §
   Defendants.                             §



            DECLARATION OF JIM MONASTRA IN SUPPORT OF
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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       I, Jim Monastra, declare:

        1.     I make this declaration based on personal knowledge. If called upon to testify, I

could and would testify competently to the following facts:

       2.      I work at OverDrive as an account manager for public libraries in Texas, among

other states. I have worked in this position since March 2018. Before working at OverDrive, I

received my master's degree in Library and Information Science from Kent State University.

       3.      OverDrive is a mission based, Certified B-Corporation focused on serving and

guided by the interests of libraries and schools. It provides libraries and schools with a digital

platform to make ebooks and audiobooks available to their patrons and students. OverDrive

offers the largest digital content catalog in the world, serving more than 76,000 libraries and

schools in 94 countries.

       4.      OverDrive's content acquisition process requires authors, suppliers, and

publishers to apply and be accepted by OverDrive for inclusion in the OverDrive catalog. This

process also requires applicants to enter into a commercial distribution agreement with

OverDrive.

        5.     OverDrive is not in the business of distributing obscene or pornographic content.

Any and all books that become available in a library's OverDrive digital collection are made

available as a result of the library's selection of those books.

       6.      OverDrive also enables librarians to manage books that libraries and schools

make available to particular audiences. For example, OverDrive supports libraries' ability to

designate specific library card types to distinguish between patrons, such as juvenile versus adult

card holders, and restrict or allow access to content accordingly.




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       7.     I swear under penalty of perjury that the foregoing is true and correct to the best

of my knowledge.



Dated: April 28, 2022                        By:
                                                    Jit(ra
